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                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                 EASTERN DIVISION
11   DANIEL RUBIO,                           ) Case No.: 5:20-cv-02096-GJS
12                                           )
     Plaintiff,                              ) JUDGMENT OF REMAND
13                                           )
14          v.                               )
                                             )
15                     1
     KILOLO KIJAKAZI ,                       )
16   Acting Commissioner of Social Security, )
17                                           )
     Defendant.                              )
18
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20
           The Court having approved the parties’ Stipulation to Voluntary Remand
21
22   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
23
     (“Stipulation to Remand”) lodged concurrent with the lodging of the within
24
25
26
     1
      Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
27
     2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
28   Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
     suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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 1   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
 2
     DECREED that the above-captioned action is remanded to the Commissioner of
 3
 4   Social Security for further proceedings consistent with the Stipulation to Remand.
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 6   Date: November 30, 2021
 7                                         HON. GAIL J. STANDISH
                                           UNITED STATES MAGISTRATE JUDGE
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